LODGED

Case 2:( iL-cv-08582-CJC-FMO Document 89 Filed 06/04/02 Pageiof3 Page ID#:18

Martin K. Deniston, Esq. (State Bar No. 106737)
Kevin C. Boyle, Esa. State Bar No.190533)

1
2 || WILSON, ELSER, MOSKOWITZ, CLERK, US DISTRICT COURT
EDELMAN & DICKER LLP Frcer
3 || 1055 West Seventh Street, Suite 2700 in -4 ne
4 Los Angeles, California 90017-2503_ -2503 Tin
Felephone:(>13) 624-3084 cent SRD CFIA
5 |, Attorneys for Defendant, - LS
ROBERT BOYLE
% |/B5
QPS. |
ge |} Os
oOo. met \
= cee UNITED STATES DISTRICT COURT
Fp co CENTRAL DISTRICT OF CALIFORNIA
1a)
11 || DARLA ELWOOD, Case No.: CV 01-08582 LGB (FMOx)
12
Plaintiff, ) JUDGEMENT IN FAVOR OF
13 DEFENDANT ROBERT BOYLE
14 v. [F.R.C.P. 12(b)(6)]
15

Honorable Lourdes Baird

16 |) JOSEPH MORIN, ROBERT BOYLE
SONIA JIMENEZ, RODNEY

17 || DELAPLANE, COUNTY OF LOS
ANGELES, ANN WELLMAN,

18 || BARBARA DALLIS

?

19
Defendants.
20
21
22
23 Defendant ROBERT BOYLE’S motion to dismiss plaintiff DARLA ELWOOD’S

24 || complaint was set for hearing on May 13, 2002, in department 780 of the above-referenced court,

25 || before Judge Lourdes Baird presiding. The court took the matter under submission on the papers

26 || and did not hear oral argument. ENTERED Or! lod
fo
27 titi Docketed JUN - 5 20
ag tly) ~ Copies MIG Sent’ 4
JS-5/JS-6 ery
—— JS-2/uS-3 Cv Be FG
—§== GLSD

JUDGEMENT IN FAVOR OF DEFENDANT ROBERT BOYLE Lo
173919.2

Case aff-ov-08580-CC-F ye Document 59 Filed 06/04/02 Page 2of3 Page ID #:19

ao sD

“oO

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

After consideration of the moving opposition and reply papers, the Court granted
defendant ROBERT BOYLE motion in its entirety for reasons set forth in the minute order of
May 10, 2002.

THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
judgment be entered in favor of defendant ROBERT BOYLE against plaintiff DARLA
ELWOOD, and he is awarded costs in the amount of $ +0 be deler muncd.

Dated: oe 2002 Lois

Hon. Lourdes Baird
Judge of the Central District Court

2

JUDGEMENT IN FAVOR OF DEFENDANT ROBERT BOYLE
173919.2

Case 2:01-cv-08582-CJC-FMO Document 59, Filed 06/04/02 Page 30f3 Page ID #:20

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California, by WILSON, ELSER,
MOSKOWITZ, EDELMAN & DICKER and am over the age of 18 and not a party to the within action.
My business address is 1055 West Seventh Street, Suite 2700, Los Angeles, California 90017-2503.

On May 31, 2002, I served the foregoing document described JUDGMENT IN FAVOR OF
DEFENDANT ROBERT BOYLE on all interested parties, through their respective attorneys of record
in this action, by placing a true copy thereof enclosed in a sealed envelope addressed as follows:

PATRICIA J. BARRY

548 South Spring St.

Suite 1040

Los Angeles, CA 90013

Attorneys for Plaintiff DARLA ELWOOD
Ph: (213) 995-0734

Fx: (213) 995-0735

_XX (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United States Mail
at Los Angeles, California. I am “readily familiar” with the firm’s practice of collection and processing
correspondence or mailing, Under that practice it would be deposited with U.S. postal service on that
same day with postage thereon fully prepaid at Los Angeles, California in the ordinary course of business.
] am aware that on motion of the party served, service is presumed invalid if posta! cancellation date or
postage meter date is more than one day after date of deposit for mailing in affidavit.

__ (BY PERSONAL SERVICE) | caused such envelope(s) to be delivered by hand to the
offices of the addressee(s).

__ (BY FACSIMILE) | caused such document(s} to be telephonically transmitted to the offices
of the addressee(s).

JURISDICTION

(State) [ declare under penalty of perjury that the above is true and correct.

XX_ (Federal) I declare that 1 am employed in the office of a member of the bar of this court at
whose direction the service was made.

Executed on May 31, 2002, at Los Angeles, California.

(Qa

Michelle Kang

154203.2
